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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOANNE WOLFF, individually and on                No. 4:19-CV-01596
behalf of a Class of Similarly Situated
Individuals,                                     (Chief Judge Brann)

                   Plaintiff,

      v.

AETNA LIFE INSURANCE
COMPANY,

                   Defendant.

                                    ORDER

                                 MAY 25, 2022

     In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that:

     1.    Wolff’s Motion for Class Certification (Doc. 107) is GRANTED;

     2.    This matter shall be maintained as a class action in accordance with

           Federal Rule of Civil Procedure 23 on behalf of the following class of

           plaintiffs:

                  All persons who were injured and received long-term
                  disability benefits from the defendants as a result of an
                  injury causing event and as against whom defendant
                  sought or recovered reimbursement of long-term disability
                  benefits it had paid to insured from the insureds’ tort
                  recoveries and who suffered harm and damages which
                  include, by way of exemplification and not in limitation,
                  the loss of use of money, the loss of interest on money, the
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           loss of possession of their funds, the loss of enjoyment of
           their funds, their losses in having to free their funds from
           defendants’ encumbrances and payment of money from
           their tort recoveries to the defendant as a result of
           defendants’ wrongful reimbursement demands and actions
           based on a violation of the policy.

3.   The class claims consist of violations of the Employee Retirement

     Income Security Act of 1974, 29 U.S.C. § 1001, et seq.;

4.   Plaintiff Joanne Wolff is certified as class representative;

5.   Charles Kannebecker, Esquire of Weinstein Schneider Kannebecker &

     Lokuta is appointed to serve as class counsel;

6.   Plaintiffs shall submit to the Court a proposed form of notice to the

     class by Monday, June 20, 2022;

7.   Defendant shall produce to Plaintiff a class list with the last known

     address of each class member by June 27, 2022.




                                      BY THE COURT:


                                      s/ Matthew W. Brann
                                      Matthew W. Brann
                                      Chief United States District Judge




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